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                                          July 30, 2020

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell,
               Case No. 15-cv-7433-LAP

Dear Judge Preska,

       Pursuant to the Court’s orders dated July 28, 29, and 30, 2020 (ECF Nos. 1077, 1079, and
1087), Plaintiff files the documents listed in Exhibit A to Plaintiff Virginia Giuffre’s Opposition
to Defendant Ghislaine Maxwell’s Objections to Unsealing Docket Entries 143, 164, 172 199, and
230 (ECF No. 1068-1), as attachments hereto.

        Plaintiff will file “Ms. Maxwell’s and Doe 1’s deposition transcripts and any sealed
materials that quote or disclose information from them . . . on Monday, August 3, 2020, subject to
any further stay ordered by the Court of Appeals.” ECF No. 1079 at 3-4.


                                             Sincerely,

                                             /s/ Sigrid S. McCawley
                                             Sigrid S. McCawley, Esq.



       cc: Counsel of Record (via ECF)
